                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

  _______________________________________
                                         )
  BRENNAN M. GILMORE,                    )
                                         )
              Plaintiff,                 )
                                         )
  v.                                     )            No. 3:18-cv-00017-NKM
                                         )
  ALEXANDER E. (ALEX) JONES, et al.,     )
                                         )
              Defendants.                )
                                         )
  _______________________________________)

                 MOTION TO WITHDRAWAL AS COUNSEL OF RECORD
      I, Michael B. Hissam, counsel for amici curiae Lyrissa B. Lidsky, Tamara R. Piety, David A.

  Strauss, Carlos A. Ball, (“First Amendment and Media Law Scholars” or “Amici”) in the above-

  captioned matter, move for leave to withdraw as counsel of record pursuant to Local Rule 6(i). In

  support of his motion, counsel states as follows:

      1. First Amendment and Media Law Scholars has retained the law firm of Bailey & Glasser

          LLP as counsel of record in this matter.

      2. Athanasois Basdekis of the law firm of Bailey & Glasser LLP has entered an appearance

          in this matter.

      3. I am no longer affiliated with the law firm of Bailey & Glasser LLP, and neither I nor my

          current firm (Hissam Forman Donovan Ritchie PLLC) are involved with this matter.

      4. My withdrawal as counsel will not materially adversely affect the interests of the parties

          in this matter, and the law firms of Bailey & Glasser LLP and Spiegel & McDiarmid LLP

          will continue to serve as counsel for First Amendment and Media Law Scholars.




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          WHEREFORE, the undersigned Michael B. Hissam respectfully requests that he be

  granted leave to withdraw as counsel of record for the First Amendment and Media Law Scholars

  in this case.


  Dated: January 11, 2019                           Respectfully submitted,

                                                    /s/ Michael B. Hissam
                                                    Michael B. Hissam (VSB #76843)
                                                    Hissam Forman Donovan Ritchie PLLC
                                                    P.O. Box 3983
                                                    Charleston, WV 25339
                                                    mhissam@hfdrlaw.com
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                                                    F: (304) 982-8056




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                                 CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing Motion to Withdrawal as Counsel of Record

  was served upon all counsel of record through the Court’s ECF system.



  Dated: January 11, 2019
                                                    /s/ Michael B. Hissam
                                                    Michael B. Hissam (VSB #76843)
                                                    Hissam Forman Donovan Ritchie PLLC
                                                    P.O. Box 3983
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division
  _______________________________________
                                         )
  BRENNAN M. GILMORE,                    )
                                         )
              Plaintiff,                 )
                                         )
  v.                                     )             No. 3:18-cv-00017-NKM
                                         )             Magistrate Joel C. Hoppe
  ALEXANDER E. (ALEX) JONES, et al.,     )
                                         )
              Defendants.                )
                                         )
  _______________________________________)

               [PROPOSED] ORDER GRANTING LEAVE TO WITHDRAWAL

         CAME THIS DAY, Michael B. Hissam, of the law firm of Hissam Donovan Forman

  Ritchie PLLC, counsel for the First Amendment and Media Law Scholars in the above-referenced

  case and moved this Honorable Court for leave to withdraw as counsel of record. Upon review of

  the Motion and nothing that the First Amendment and Media Law Scholars has retained other

  counsel, who have appeared in this action to represent its interests, the Court finds good cause for

  withdrawal and does hereby GRANT Mr. Hissam leave to withdraw as counsel of record.

         The Clerk of this Court is ORDERED to mail certified copies of this Order to all parties of

  record at the following addresses:

  ENTERED this _____ day of ____________, 2019.
                                                               ______________________________
                                                                   Magistrate Joel C. Hoppe
  Prepared and presented by:

  /s/ Michael B. Hissam____________
  Michael B. Hissam (VSB #76843)
  Hissam Forman Donovan Ritchie PLLC
  P.O. Box 3983
  Charleston, WV 25339
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